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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   WALKER INTERNATIONAL HOLDINGS :
   LIMITED
                                 :
                Plaintiff
                                 :
            v.                                           Civil Action No. 05-156 SLR
                                 :

   REPUBLIC OF THE CONGO, et al.,                  :

                          Defendants               :

                               CERTIFICATE OF SERVICE

          I hereby certify that I am an attorney at Greenberg Traurig, LLP, counsel for the
   Plaintiff, and that on March 9, 2007, copies of the following were served upon the parties
   listed below in the manner indicated.
          •   Notice of Dismissal Pursuant to Fed. R. Civ. P. 41(a)(1)(i)
          •   Letter to Chief Judge Robinson re: Notices of Dismissal

         VIA HAND DELIVERY                             VIA U.S. MAIL
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   Dated: March 9, 2007                        /s/ Dennis A. Meloro
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